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                   19                             UNITED STATES DISTRICT COURT

                   20                          NORTHERN DISTRICT OF CALIFORNIA

                   21                                  SAN FRANCISCO DIVISION

                   22   RICHARD KADREY, et al.,                       Case No. 3:23-cv-03417-VC-TSH

                   23     Individual and Representative Plaintiffs,   DEFENDANT’S SUPPORT FOR
                                                                      ADMINISTRATIVE MOTION TO CONSIDER
                   24        v.                                       WHETHER ANOTHER PARTY’S MATERIAL
                                                                      SHOULD BE SEALED [ECF 205]
                   25   META PLATFORMS, INC., a Delaware
                        corporation;
                   26
                                                       Defendant.
                   27

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COOLEY LLP
ATTORNEYS AT LAW                                                                              DEF’S SUPPORT FOR
                                                                                                MOTION TO SEAL
                                                                                          3:23-CV-03417-VC-TSH
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                    1           Pursuant to Civil Local Rule 79-5(f), Defendant Meta Platforms, Inc. (“Meta”) respectfully
                    2   supports Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should
                    3   Be Sealed (Dkt. 205).
                    4           Meta requests to seal the following document in order to protect Meta’s confidential
                    5   business information:
                    6
                         Document                                       Sealing Request
                    7
                         Exhibit A to Declaration of Holden Benon               Entire document
                    8    in Support of Plaintiffs’ Reply to
                         Defendant Meta Platforms, Inc.’s
                    9
                         Opposition to Motion to Amend Case
                   10    Management Schedule (“Benon
                         Declaration”)
                   11

                   12
                        I.      LEGAL ARGUMENT
                   13
                                Though the presumption of public access to judicial proceedings and records is strong, it
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                        “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (19787). The Ninth Circuit
                   15
                        treats documents “attached to dispositive motions differently from records [i.e., documents]
                   16
                        attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180
                   17
                        (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For
                   18
                        non-dispositive motions, such as Plaintiffs’ Motion to Amend Case Management Schedule (Dkt.
                   19
                        193), the “good cause” standard applies.             OpenTV v. Apple, No. 14-cv-01622-HSG,
                   20
                        2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015); Kamakana, 447 F.3d at 1180 (“A ‘good
                   21
                        cause’ showing will suffice to seal documents produced in discovery.”). The Federal Rules afford
                   22
                        district courts “flexibility in balancing and protecting the interests of private parties.” Kamakana,
                   23
                        447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-05330-HSG, 2020 WL 210318, at *8
                   24
                        (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963 (Fed. Cir. 2021) (finding good cause to seal
                   25
                        “confidential business and proprietary information”).
                   26
                                Exhibit A to the Benon Declaration contains confidential information of Meta, of which
                   27
                        Meta requests sealing. The document comprises excerpts of internal Meta documents relating to
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                           DEF’S SUPPORT FOR
                                                                         1                                   MOTION TO SEAL
                                                                                                       3:23-CV-03417-VC-TSH
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                    1   AI development, including highly sensitive information regarding the technical development and
                    2   components of Meta’s AI models and internal discussion of the same.
                    3            As this information is highly confidential, Meta must request sealing of Exhibit A to the
                    4   Benon Declaration. Meta takes steps to carefully protect the confidentiality of information of this
                    5   sort because the disclosure of such information has the potential to cause significant competitive
                    6   injury to Meta. See, e.g., Space Data Corp. v. Alphabet Inc., No. 16-CV-03260-BLF, 2019 WL
                    7   285799, at *1 (N.D. Cal. Jan. 22, 2019) (finding information regarding party’s confidential and
                    8   proprietary technical information sealable). This sealing request is critical to protecting Meta’s
                    9   confidential sensitive technical and competitive information.
                   10            The specific basis for sealing these materials is outlined in the accompanying declaration
                   11   of Meta’s Associate General Counsel, Michelle Woodhouse. As outlined in Ms. Woodhouse’s
                   12   declaration, disclosure of the protected information contained in Exhibit A to the Benon Declaration
                   13   would work competitive harm to Meta if this information is publicly disclosed. The Parties’ sealing
                   14   requests and proposed redactions are narrowly tailored to include only that information which
                   15   would cause specific, articulable harm, as identified in Ms. Woodhouse’s declaration. In each
                   16   instance, the harm to Meta outweighs the public’s interest in disclosure. See, e.g., In re iPhone
                   17   App. Litig., No. 11-md-02250-LHK, 2013 WL 12335013, at *2 (N.D. Cal. Nov. 25, 2013) (granting
                   18   motion to seal where the defendant’s interest in “maintaining the confidentiality of information
                   19   about its technology and internal business operations” outweighed that of the public in accessing
                   20   such documents).
                   21   II.      CONCLUSION
                   22            For the foregoing reasons, Meta respectfully requests that the Court order Exhibit A to the
                   23   Benon Declaration be sealed.
                   24

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                                                                          2                                 MOTION TO SEAL
                                                                                                      3:23-CV-03417-VC-TSH
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                    1   Dated: October 11, 2024                       COOLEY LLP
                    2

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